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 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                  )
                                                )
11                  Plaintiff,                  )        Case No. 10-cr-00477-MCE
                                                )
12           vs.                                )        ORDER
                                                )        APPOINTING COUNSEL
13   LONNIE TERRELL,                            )
                                                )
14                  Defendant.                  )
                                                )
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16
            This defendant contacted the Federal Defender seeking early termination of his
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     supervised release. CJA Panel attorney Jessica Graves is hereby appointed for the limited
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     purpose of consulting Lonnie Terrell regarding early termination and possible related motion,
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     effective November 21, 2017, the date the Office of the Federal Defender first contacted her.
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            Appointed counsel is ordered to retain the signed Financial Affidavit supporting
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     appointment.
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            IT IS SO ORDERED.
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     Dated: November 28, 2017
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     ORDER APPOINTING COUNSEL                        1
